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                           IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF DELAWARE

  DELOITTE CONSULTING LLP and                  )
  DELOITTE DEVELOPMENT LLC,                    )
                                               )
             Plaintiffs,                       )
                                               )
        v.                                     ) C.A. No. 23-325-WCB
                                               )
  SAGITEC SOLUTIONS, LLC,                      )
                                               )
             Defendant.                        )


                                   NOTICE OF SERVICE

       PLEASE TAKE NOTICE that on February 26, 2025, the following document was served

 on RK-Sagitec@RobinsKaplan.com and the persons listed below in the manner indicated:

    1) Notice of Subpoena regarding Chris Madel

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  Dated: February 26, 2025
